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                     UNITED STATES DISTRICT COURT
        FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.3)
                                  Eastern Division

Kaiher Technology Co., Limited
                                        Plaintiff,
v.                                                       Case No.: 1:25−cv−05846
                                                         Honorable Mary M. Rowland
SCAN2CAD INC.
                                        Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, June 20, 2025:


       MINUTE entry before the Honorable Mary M. Rowland: Plaintiff's motion for
temporary restraining order [9] is granted. Plaintiff is directed to send a proposed order to
proposed_order_rowland@ilnd.uscourts.gov. Mailed notice. (jg, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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